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Inquiry created 8/4/2017 :
Gurcent Status; Closed

‘Jane |: Fad 2772
Crouted by: 3869441 Misha! Billups [ Gurrant Location WRJ F 407 - FLR }
Abtalgived to: None

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9650441: Miches! Rilupg WY F 4 OF ~FLR on OuMltd2017 08:40 PM
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